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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION




LAMONTE HERRING,

      Petitioner,

v.                                                        4:20cv512–WS/HTC

MARK S. INCH,

      Respondent.



                       ORDER DISMISSING PETITIONER’S
                    PETITION FOR WRIT OF HABEAS CORPUS

      Before the court is the magistrate judge's report and recommendation (ECF

No. 18) docketed July 15, 2021. The magistrate judge recommends that

Petitioner’s petition for writ of habeas corpus be DISMISSED as untimely.

Petitioner has filed objections (ECF No. 21) to the magistrate judge’s report and

recommendation, and those objections have been carefully reviewed by the

undersigned.

      Upon review of the record in light of Petitioner’s objections, the court has

determined that the magistrate judge's report and recommendation should be
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adopted.

      Accordingly, it is ORDERED:

      1. The magistrate judge's report and recommendation (ECF No. 18) is

hereby ADOPTED and incorporated by reference into this order.

      2. Petitioner's petition for writ of habeas corpus (ECF No. 18) is

DISMISSED as untimely.

      3. The clerk shall enter judgment stating: "Petitioner's petition for writ of

habeas corpus is DISMISSED."

      4. A certificate of appealability is DENIED.

      5. Petitioner’s request (ECF No. 21) for an evidentiary hearing is DENIED.

      DONE AND ORDERED this              12th     day of     October    , 2021.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE.
